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                           UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF PENNSYLVANIA

 JOSIE BADGER and ALEXANDRA
 MARTINEZ, individually and on behalf of all
 others similarly situated,
                                                           Case No.
        Plaintiffs,

 v.                                                        Filed Electronically

 SEARS HOLDINGS CORPORATION; SEARS,
 ROEBUCK & COMPANY; and, KMART
 HOLDING CORPORATION,

        Defendants.

                                 CLASS ACTION COMPLAINT

       COME NOW, Josie Badger and Alexandra Martinez (“Plaintiffs”) on behalf of themselves

and all others similarly situated and allege as follows:

                                         INTRODUCTION

       1.       Plaintiffs bring this action individually and on behalf of all others similarly situated

against Sears Holdings Corporation; Sears, Roebuck & Company; and, Kmart Holding

Corporation (“Defendants”), alleging violations of Title III of the Americans with Disabilities Act,

42 U.S.C. § 12101 et seq., (the “ADA”) and its implementing regulations, in connection with

accessibility barriers in the parking lots and paths of travel at various public accommodations that

Defendants own, operate, control, and/or lease (“Defendants’ facilities”).

       2.       Plaintiff Josie Badger (“Plaintiff Badger”) has a mobility disability and is limited

in the major life activity of walking. Because of this mobility disability, she depends upon a

wheelchair for mobility.

       3.       Plaintiff Alexandra Martinez (“Plaintiff Martinez”) suffers from Spina Bifida and
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is limited in the major life activity of walking. Because of this mobility disability, she depends

upon a wheelchair for mobility.

       4.       Plaintiffs have visited Defendants’ facilities and were denied full and equal access

as a result of Defendants’ inaccessible parking lots and paths of travel.

       5.       Plaintiffs’ experiences are not isolated—Defendants have systematically

discriminated against individuals with mobility disabilities by implementing policies and practices

that consistently violate the ADA’s accessibility guidelines and routinely result in access barriers

at Defendants’ facilities.

       6.       In fact, numerous facilities owned, controlled and/or operated by Defendants have

parking lots and paths of travel that are inaccessible to individuals who rely on wheelchairs for

mobility, demonstrating that the centralized decision making Defendants employ with regard to

the design, construction, alteration, maintenance and operation of its facilities causes access

barriers, and/or allows them to develop and persist at Defendants’ facilities.

       7.       Unless Defendants are required to remove the access barriers described below, and

required to change its policies and practices so that access barriers do not reoccur at Defendants’

facilities, Plaintiffs and the proposed Class will continue to be denied full and equal access to those

facilities as described, and will be deterred from fully using Defendants’ facilities.

       8.       The ADA expressly contemplates injunctive relief aimed at modification of a policy

or practice that Plaintiffs seeks in this action. In relevant part, the ADA states:

       [i]n the case of violations of…this title, injunctive relief shall include an order to
       alter facilities to make such facilities readily accessible to and usable by individuals
       with disabilities….Where appropriate, injunctive relief shall also include requiring
       the…modification of a policy….

42 U.S.C. § 12188(a)(2).




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          9.       Consistent with 42 U.S.C. § 12188(a)(2) Plaintiffs seeks a permanent injunction

requiring:

                a) that Defendants remediate all parking and path of travel access barriers at its
                   facilities, consistent with the ADA;

                b) that Defendants change their corporate policies and practices so that the parking
                   and path of travel access barriers at its facilities do not reoccur; and,

                c) that Plaintiffs’ representatives shall monitor Defendants’ facilities to ensure that the
                   injunctive relief ordered pursuant to Paragraph 9(a) and 9(b) has been implemented
                   and will remain in place.

          10.      Plaintiffs’ claims for permanent injunctive relief are asserted as class claims

pursuant to Fed. R. Civ. P. 23(b)(2). Rule 23(b)(2) was specifically intended to be utilized in civil

rights cases where the Plaintiffs seek injunctive relief for their own benefit and the benefit of a

class of similarly situated individuals. To that end, the note to the 1996 amendment to Rule 23

states:

         Subdivision(b)(2). This subdivision is intended to reach situations where a party
 has taken action or refused to take action with respect to a class, and final relief of an
 injunctive nature or a corresponding declaratory nature, settling the legality of the
 behavior with respect to the class as a whole, is appropriate….Illustrative are various
 actions in the civil rights field where a party is charged with discriminating unlawfully
 against a class, usually one whose members are incapable of specific enumeration.

                      THE ADA AND ITS IMPLEMENTING REGULATIONS

          11.      The ADA was enacted over a quarter century ago and is intended to “provide a

clear and comprehensive national mandate for the elimination of discrimination against individuals

with disabilities.” 42 U.S.C. § 12101(b)(1).

          12.      The ADA broadly protects the rights of individuals with disabilities in employment,

access to State and local government services, places of public accommodation, transportation,

and other important areas of American life.

          13.      Title III of the ADA generally prohibits discrimination against individuals with

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disabilities in the full and equal enjoyment of public accommodations, 42 U.S.C. § 12182(a), and

prohibits places of public accommodation, either directly, or through contractual, licensing, or

other arrangements, from outright denying individuals with disabilities the opportunity to

participate in a place of public accommodation, 42 U.S.C. § 12182(b)(1)(A)(i), or denying

individuals with disabilities the opportunity to fully and equally participate in a place of public

accommodation, 42 U.S.C. § 12182(b)(1)(A)(ii).

       14.      Title III further prohibits places of public accommodation from utilizing methods

of administration that have the effect of discriminating on the basis of a disability. 42 U.S.C. §

12182(b)(1)(D).

       15.      Restaurants, like Defendant, are public accommodations. 42 U.S.C. § 12181(7).

       16.      Title III and its implementing regulations define discrimination to include the

following:

             a) Failure to remove architectural barriers when such removal is readily achievable
                for places of public accommodation that existed prior to January 26, 1992, 28 CFR
                § 36.304(a) and 42 U.S.C. § 12182(b)(2)(A)(iv);

             b) Failure to design and construct places of public accommodation for first occupancy
                after January 26, 1993, that are readily accessible to and usable by individuals with
                disabilities, 28 C.F.R. § 36.401 and 42 U.S.C. § 12183(a)(1);

             c) For alterations to public accommodations made after January 26, 1992, failure to
                make alterations so that the altered portions of the public accommodation are
                readily accessible to and usable by individuals with disabilities, 28 C.F.R. § 36.402
                and 42 U.S.C. § 12183(a)(2); and

             d) Failure to maintain those features of public accommodations that are required to be
                readily accessible to and usable by persons with disabilities, 28 C.F.R. § 36.211.

       17.      The remedies and procedures set forth at 42 U.S.C. § 2000a-3(a) are provided to

any person who is being subjected to discrimination on the basis of disability or who has reasonable

grounds for believing that such person is about to be subjected to discrimination in violation of 42

U.S.C. § 12183. 42 U.S.C. 12188(a)(1).

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       18.       The ADA also provides for specific injunctive relief, which includes, but is not

limited to, the following:

       In the case of violations of sections 12182(b)(2)(A)(iv) and section 12183(a) of this
       title, injunctive relief shall include an order to alter facilities to make such facilities
       readily accessible to and usable by individuals with disabilities to the extent
       required by this subchapter. Where appropriate, injunctive relief shall also
       include…modification of a policy…to the extent required by this subchapter.

42 U.S.C. § 12188(a)(2); 28 C.F.R. § 36.501(b).

                                  JURISDICTION AND VENUE

19.    This Court has federal question jurisdiction pursuant to 28 U.S.C. § 1331 and 42 U.S.C. §

       12188.

20.    Plaintiffs’ claims asserted herein arose in this judicial district and Defendants do substantial

       business in this judicial district.

21.    Venue in this judicial district is proper under 28 U.S.C. § 1391(b)(2) in that this is the

       judicial district in which a substantial part of the events and/or omissions at issue occurred.

                                              PARTIES

       22.       Plaintiff Badger is and, at all times relevant hereto, was a resident of the

Commonwealth of Pennsylvania. As described above, as a result of her disability, Plaintiff Badger

relies upon a wheelchair for mobility. She is therefore a member of a protected class under the

ADA, 42 U.S.C. § 12102(2) and the regulations implementing the ADA set forth at 28 CFR §§

36.101 et seq.

       23.       Plaintiff Martinez, is and, at all times relevant hereto, was a resident of South

Euclid, OH. As a result of her disability, Plaintiff Martinez relies upon a wheelchair for mobility,

and is therefore a member of a protected class under the ADA, 42 U.S.C. § 12102(2) and the

regulations implementing the ADA set forth at 28 CFR §§ 36.101 et seq.

       23.       Defendants are headquartered at 3333 Beverly Road, Hoffman Estates, Illinois

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60179.

          24.    Defendants operate a national network of stores with 1,430 full-line and specialty

retail stores under the Kmart and Sears names. Defendants are public accommodations pursuant

to 42 U.S.C. §12181(7).

                                    FACTUAL ALLEGATIONS

1.        Plaintiffs were Denied Full and Equal Access to Defendants’ Facilities.

          25.    Plaintiffs have visited Defendants’ location at 996 West View Park Drive,

Pittsburgh, PA (the “Subject Property”), where they experienced unnecessary difficulty and risk

due to excessive slopes in the purportedly accessible parking spaces.

          26.    As a result of Defendant’s non-compliance with the ADA, Plaintiffs’ ability to

access and safely use Defendants’ facilities have been significantly impeded.

          27.    Plaintiff Badger lives north of Pittsburgh, Pennsylvania in the Ellwood

City/Wampum area and travels throughout the region frequently to visit friends. In addition,

Plaintiff Badger travels throughout the region to conduct trainings at high schools related to anti-

bullying and disability acceptance. Plaintiff Badger has been to the Subject Property, including in

the last year.

          28.    Despite her difficulties, Plaintiff Badger plans to return to the property in the future.

          29.    Furthermore, Plaintiff Badger intends to return to Defendants’ facilities to ascertain

whether those facilities remain in violation of the ADA.

          30.    Plaintiff Martinez lives in Ohio and travels throughout the Western Pennsylvania

region frequently for wheelchair weightlifting and dance events and to visit friends. Plaintiff

Martinez has been to the Subject Property, including in the last year.

          31.    Despite her difficulties, Plaintiff Martinez plans to return to the property in the

future.
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        32.     Furthermore, Plaintiff Martinez intends to return to Defendants’ facilities to

ascertain whether those facilities remain in violation of the ADA.

        33.     Plaintiffs will be deterred from returning to and fully and safely accessing

Defendants’ facilities, however, so long as Defendants’ facilities remain non-compliant, and so

long as Defendants continue to employ the same policies and practices that have led, and in the

future will lead, to inaccessibility at their facilities.

        34.     Without injunctive relief, Plaintiffs will continue to be unable to fully and safely

access Defendants’ facilities in violation of their rights under the ADA.

        35.     As individuals with mobility disabilities who are dependent upon a wheelchair,

Plaintiffs are directly interested in whether public accommodations, like Defendants, have

architectural barriers that impede full accessibility to those accommodations by individuals with

mobility-related disabilities.

2.      Defendants Repeatedly Deny Individuals With Disabilities Full and Equal Access to
        their Facilities.

        36.     Defendants, as the owner, controller and/or operator of their facilities, employ

centralized policies, practices and procedures with regard to the design, construction, alteration,

maintenance and operation of the facilities.

        37.     To date, Defendants’ centralized design, construction, alteration, maintenance and

operational policies and practices have systematically and routinely violated the ADA by

designing, constructing and altering facilities so they are not readily accessible and usable, by

failing to remove architectural barriers, and by failing to maintain and operate facilities so that the

accessible features of Defendants’ facilities are maintained.

        38.     On Plaintiffs’ behalf, investigators examined multiple locations owned, controlled,

and/or operated by Defendants, and found the following violations, which are illustrative of the

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fact that Defendants implement policies and practices that routinely result in accessibility

violations:

              e) 996 West View Park Drive, Pittsburgh, PA (Subject Property )

                   i.    The surfaces of one or more purportedly accessible parking spaces had
                         slopes exceeding 2.1%; and

                   ii.   No spaces were designated as “van accessible” at one or more groups of
                         purportedly accessible parking spaces.

              f) 1500 Robinson Center Drive, Pittsburgh, PA

                   i.    The surfaces of one or more purportedly accessible parking spaces had
                         slopes exceeding 2.1%; and

                   ii.   The surfaces of one or more access aisles had slopes exceeding 2.1%.

              g) 9505 Colerain Avenue, Cincinnati, OH

                   i.    The surfaces of one or more purportedly accessible parking spaces had
                         slopes exceeding 2.1%; and

                   ii.   No spaces were designated as “van accessible” at one or more groups of
                         purportedly accessible parking spaces.

               h) 8501 W. Bowles Avenue, Littleton, CO

                   i.    A curb ramp located on the route to the building entrance had a running
                         slope exceeding 8.3%;

                  ii.    A curb ramp located on the route to the building entrance had a flare with a
                         slope exceeding 10.0%; and,

                  iii.   No spaces were designated as “van accessible” at one or more groups of
                         purportedly accessible parking spaces.

               i) 2765 South Hamilton Road, Columbus, OH

                  i.     No spaces were designated as “accessible”; and,

                  ii.    A vertical change in direction of more than ¼ inch obstructed the route to
                         the entrance.

       38.       The fact that individuals with mobility-related disabilities are denied full and equal

access to numerous of Defendants’ facilities, and the fact that each of these facilities deny access

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by way of inaccessible parking facilities, is evidence that the inaccessibility Plaintiffs experienced

is not isolated, but rather, caused by Defendants’ systemic disregard for the rights of individuals

with disabilities.

        39.     Defendants’ systemic access violations demonstrate that Defendants either employ

policies and practices that fail to design, construct and alter its facilities so that they are readily

accessible and usable, and/or that Defendants employ maintenance and operational policies and

practices that are unable to maintain accessibility.

        40.     As evidenced by the widespread inaccessibility of Defendants’ parking facilities,

absent a change in Defendants’ corporate policies and practices, access barriers are likely to

reoccur in Defendants’ facilities even after they have been remediated.

Accordingly, Plaintiffs seek an injunction to remove the barriers currently present at Defendants’

facilities and an injunction to modify the policies and practices that have created or allowed, and

will create and allow, inaccessibility to affect Defendants’ network of facilities.

                                     CLASS ALLEGATIONS

        41.     Plaintiffs bring this class action, pursuant to Rules 23(a) and 23(b)(2) of the Federal

Rules of Civil Procedure, on behalf of themselves and the following nationwide class: all

wheelchair users who have attempted, or will attempt, to utilize the parking facilities at all

locations within the United States for which Defendants own and/or control the parking facilities.

        42.     Numerosity: The class described above is so numerous that joinder of all individual

members in one action would be impracticable. The disposition of the individual claims of the

respective class members through this class action will benefit both the parties and this Court, and

will facilitate judicial economy.




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         43.   Typicality: Plaintiffs’ claims are typical of the claims of the members of the class.

The claims of Plaintiffs and members of the class are based on the same legal theories and arise

from the same unlawful conduct.

         44.   Common Questions of Fact and Law: There is a well-defined community of interest

and common questions of fact and law affecting members of the class in that they all have been

and/or are being denied their civil rights to full and equal access to, and use and enjoyment of,

Defendants’ facilities and/or services due to Defendants’ failure to make their facilities fully

accessible and independently usable as above described.

         45.   Adequacy of Representation: Plaintiffs are adequate representatives of the class

because their interests do not conflict with the interests of the members of the class. Plaintiffs will

fairly, adequately, and vigorously represent and protect the interests of the members of the class

and have no interests antagonistic to the members of the class. Plaintiffs have retained counsel

who are competent and experienced in the prosecution of class action litigation, generally, and

who possess specific expertise in the context of class litigation under the ADA.

         46.   Class certification is appropriate pursuant to Fed. R. Civ. P. 23(b)(2) because

Defendants have acted or refused to act on grounds generally applicable to the Class, making

appropriate both declaratory and injunctive relief with respect to Plaintiffs and the Class as a

whole.

                                  SUBSTANTIVE VIOLATION

         47.   The allegations contained in the previous paragraphs are incorporated by reference.

         48.   Defendants’ facilities were altered, designed, or constructed, after the effective date

of the ADA.




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       49.     Defendants’ facilities are required to be altered, designed, and constructed so that

they are readily accessible to and usable by individuals who use wheelchairs. 42 U.S.C. § 12183(a).

       50.     Further, the accessible features of Defendants’ facilities, which include the parking

lots and paths of travel, are required to be maintained so that they are readily accessible to and

usable by individuals with mobility disabilities. 28 U.S.C. § 36.211.

       51.     The architectural barriers described above demonstrate that Defendants’ facilities

were not altered, designed, or constructed in a manner that causes them to be readily accessible to

and usable by individuals who use wheelchairs, and/or that Defendants’ facilities were not

maintained so as to ensure that they remained accessible to and usably by individuals who use

wheelchairs.

       52.     Furthermore, the architectural barriers described above demonstrate that

Defendants have failed to remove barriers, as required by 42 U.S.C. Section 12182(b)(2)(A)(iv).

       53.     Defendants’ repeated and systemic failures to design, construct and alter facilities

so that they are readily accessible and usable, to remove architectural barriers, and to maintain the

accessible features of their facilities constitute unlawful discrimination on the basis of a disability

in violation of Title III of the ADA.

       54.     Defendants’ facilities are required to comply with the Department of Justice’s 2010

Standards for Accessible Design, or in some cases the 1991 Standards 42 U.S.C. § 12183(a)(1);

28 C.F.R. § 36.406; 28 C.F.R., pt. 36, app. A.

       55.     Defendants are required to provide individuals who use wheelchairs full and equal

enjoyment of their facilities. 42 U.S.C. § 12182(a).

       56.     Defendants have failed, and continue to fail, to provide individuals who use

wheelchairs with full and equal enjoyment of their facilities.


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       57.     Defendants have discriminated against Plaintiffs and the Class in that they have

failed to make their facilities fully accessible to, and independently usable by, individuals who use

wheelchairs in violation of 42 U.S.C. § 12182(a) as described above.

       58.     Defendants’ conduct is ongoing and continuous, and Plaintiffs have been harmed

by Defendants’ conduct.

       59.     Unless Defendants are restrained from continuing their ongoing and continuous

course of conduct, Defendants will continue to violate the ADA and will continue to inflict injury

upon Plaintiffs and the Class.

       60.     Given that Defendants have not complied with the ADA’s requirements to make

their facilities fully accessible to, and independently usable by, individuals who use wheelchairs,

Plaintiffs invoke their statutory rights to declaratory and injunctive relief, as well as costs and

attorneys’ fees.

                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs, on behalf of themselves and the members of the class, pray for:

       a.      A declaratory judgment that Defendants are in violation of the specific
               requirements of Title III of the ADA described above, and the relevant
               implementing regulations of the ADA, in that Defendants’ facilities, as described
               above, are not fully accessible to, and independently usable by, individuals who use
               wheelchairs;

       b.      A permanent injunction pursuant to 42 U.S.C. § 12188(a)(2) and 28 CFR §
               36.501(b) which directs Defendants to: (i) take all steps necessary to remove the
               architectural barriers described above and to bring their facilities into full
               compliance with the requirements set forth in the ADA, and its implementing
               regulations, so that the facilities are fully accessible to, and independently usable
               by, individuals who use wheelchairs; (ii) that Defendants change their corporate
               policies and practices to prevent the reoccurrence of access barriers post-
               remediation; and, (iii) that Plaintiffs shall monitor Defendants’ facilities to ensure
               that the injunctive relief ordered above remains in place.

       c.      An Order certifying the class proposed by Plaintiffs, and naming Plaintiffs as class
               representatives and appointing their counsel as class counsel;

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      d.     Payment of costs of suit;

      e.     Payment of reasonable attorneys’ fees, pursuant to 42 U.S.C. § 12205 and 28 CFR
             § 36.505; and,

      f.     The provision of whatever other relief the Court deems just, equitable and
             appropriate.




Dated: May 11, 2017                              Respectfully Submitted,

                                                 By: /s/ Benjamin J. Sweet
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